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 1
                                  UNITED STATES DISTRICT COURT
 2                              NORTHERN DISTRICT OF CALIFORNIA
 3   THERESA SWEET, CHENELLE                             Case No. 19-cv-03674-WHA
     ARCHIBALD, DANIEL DEEGAN, SAMUEL
 4
     HOOD, TRESA APODACA, ALICIA DAVIS,                  [PROPOSED] ORDER GRANTING
 5   and JESSICA JACOBSON on behalf of                   MOTION FOR LEAVE TO FILE A
     themselves and all others similarly situated,       SUPPLEMENTAL COMPLAINT
 6
                      Plaintiffs,                        (Class Action)
 7                                                       (Administrative Procedure Act Case)
            v.
 8

 9   MIGUEL CARDONA, in his official capacity
     as Secretary of the United States Department
10   of Education,
11   and
12
     THE UNITED STATES DEPARTMENT OF
13   EDUCATION,

14                    Defendants.
15

16            After consideration of Plaintiffs’ motion for leave to file a supplemental complaint (ECF
17   No. ___), [Defendants’ opposition (ECF No. ___)], [and Plaintiffs’ reply (ECF No. ___)], it is
18   hereby ORDERED as follows:
19            Plaintiffs are granted leave to file the Supplemental Complaint under Federal Rule of
20   Civil Procedure 15(d) and the Proposed Supplemental Complaint (ECF No.____) is deemed
21   filed. [Defendants shall have thirty (30) days from the date of this Order to file their response to

22   the Supplemental Complaint.]

23            IT IS SO ORDERED.

24

25   Dated:
                                                            Hon. William Alsup
26                                                          UNITED STATES DISTRICT JUDGE
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